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lN THE UNITED STATE DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

Lance Kerstetter

Plaintiff,
CIVIL ACTION ~ LAW
v.
NO.
Larry Jurcak, Con-way Truckload, Inc.,
JURY TRIAL DEMANDED

Defendants,

 

NOTICE

You have been sued in Court. If you Wish to defend against the claims set forth in the
following pages, you must take action Within twenty (20) days after this Complaint and
Notice are served, by entering a Written appearance personally or by attorney and filing in
Writing with the Court your defenses or objections to the claims set forth against you.
You are Warned that if you fail to do so, the case may proceed Without you and the Court
Without further notice may enter a judgment against you for any money claimed in the
Complaint or for any other claim or relief requested by the Plaintiff. You may lose
money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF
YOU DO NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR
TELEPHONE THE OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU
CAN GET LEGAL HELP. THIS OFFICE CAN PROVIDE Y()U WITH
INFORMATION ABOUT HlRlNG A LAWYER.

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY
OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCE FEE OR NO
FEE.

Lawyer Referral Legal Services Northern Pennsylvania Legal Services
338 N. Washington Ave., 3rd floor 507 Linden St., 3rd Floor
Scranton, PA 18503 Scranton, PA 18503

5 70-969-9600 570-342-0184

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IN THE UNITED STATE DlSTRiCT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

Lance Kerstetter

Plaintiff,
CIVIL ACTION - LAW
v.
NO.
Larry Jurcak, Con-way Truckload, Inc.,
JURY TRIAL DEMANDED

Defendants,

 

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AND N()W COMES, The Plaintiffs Lance Kerstetter, by and through their
attorney, The Pisanchyn Law Firm, specifically l\/Iichael J. Pisanchyn, Jr., Esquire and
Douglas A. Yazinki, Esquire, and hereby aver as follows:

l. Plaintiff, Lance Kerstetter, is a competent adult individual residing at 316
West Sassasfras Street, Selinsgrove, PA.

2. Defendant Larry Jurcak is a competent adult individual with last known
address of 7214 Cowlin Street, Crystal Lal<e, IL 60014

3. Defendant, Con-Way Truckload, lnc. is a corporation currently with a
business address at 4701 E. 32“d Street, Joplin MO or PO BoX 2547 E.
Joplin, MO 64803 that regularly conducts business throughout Carbon,
Luzerne and Lackawanna Counties.

4. At all times material hereto, Defendant, Larry Jurcak, was an agent,
servant, and/or employee of Defendant, Con-Way Truckload, lnc. and was
acting within the scope of said relationship

5. On or about August 18, 2015, Defendant, Larry Jurcak, was the operator
of a tractor trailer owned and/or insured by Defendant, Transport
Corporation of America, lnc.

6. On the aforesaid date, Plaintiff was the driver of a 2016 Toyota Corolla
With an Ohio registration of GLT6258 .

7 On the aforesaid date and time, Defendant Larry Jurcal<, did not maintain
control of his vehicle and travelled into Plaintiff’ S lane.

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8. On the aforesaid date and time, Plaintiff, Lance Kerstetter, was traveling
on Interstate 80 West when Defendant, Larry Jurcak, traversed the
Tractor-Trailer into Plaintiffs lane of travel forcing him off the road, into
a bridge abutment, causing the vehicle to overturn multiple times.

9. When Defendants operated their vehicles in such a negligent, outrageous,
wanton, reckless and careless manner that they caused Plaintiff to sustain
such injuries as are hereinafter more fully described

lO. As a result of the aforesaid accident, Plaintiff, Lance Kerstetter, sustained
injuries including but not limited to his head, shoulder, neck, chest, lungs,
and ribs.

ll. As a result of the aforesaid accident, Plaintiff, Lance Kerstetter, has been
forced to undergo extensive medical treatment, including but not limited
to, medical exams, inpatient care in the trauma/neurology unit, diagnostic
and other procedures, and will/may be forced to undergo medical
treatment for an undetermined time in the future.

lZ. As a result of the aforesaid accident and injuries sustained, Plaintiff, Lance
Kerstetter, has expended, yet expend and will/may expend for an
indefinite time in the future various and substantial sums of money for the
medicine and medical attention in and about endeavoring to treat and cure
Plaintiff, Lance Kerstetter, of his injuries all to his great financial loss and
damage.

13. As a result of the aforesaid accident and injuries sustained, Plaintiff, Lance
Kerstetter, has suffered wage loss and will suffer wage loss for an
indefinite time in the future.

COUNT I
NEGLIGENCE
Lance Kerstetter v. Larry Jurcak, and Con-way Truckload, Inc.,

l4. Plaintiff incorporates herein by reference the averments contained in
Paragraphs one (l) through fourteen (14) as well as the entire Complaint
as though the same were set forth fully herein.

l5. On August 18, 2015 and at all times relevant and material hereto,
Defendants owed to Plaintiff, Lance Kerstetter, a duty to use due care
under the circumstances

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On August 18, 2015 and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter, a duty not to place Plaintiff
at risk of harm through their actions or inactions.

On August 18, 2015 and at all times relevant and material hereto,
Defendant, Larry Jurcak owed to Plaintiff, Lance Kerstetter, a duty to have
the Tractor Trailer under such control that it could have been stopped
before doing injury to any person, including Plaintiff, Lance Kerstetter.

On August 18, 2015, and at all times relevant and material hereto
Defendant, Con-Way Truckload, lnc., owed to Plaintiff, Lance Kerstetter,
a duty to only allow a person who was competent to drive and/or have
access and control of the Tractor Trailer which caused the incident

On August 18, 2015, and at all times relevant and material hereto
Defendant, Con-Way Truckload, lnc., owed to Plaintiff, Lance Kerstetter,
a duty including but not limited to giving keys to a person who was
competent to operate the vehicle.

On August 18, 2015, and at all times relevant and material hereto
Defendant, Con-Way Truckload, lnc., owed to Plaintiff, Lance Kerstetter,
a duty including but not limited to giving keys to a person who was
competent not to cause Defendant’s vehicle to strike Plaintiff’ s vehicle.

On August 18, 2015, and at all times relevant and material hereto
Defendant, Con-Way Truckload, lnc., owed to Plaintiff, Lance Kerstetter,
a duty to only allow access to his vehicle to drivers who would not create
an unreasonable risk of harm to others such as the Plaintiff.

On August 18, 2015 , and at all times relevant and material hereto
Defendant, Con-Way Truckload, lnc., owed to Plaintiff, Lance Kerstetter,
a duty not to provide unfettered access to its vehicle to a driver despite the
driver’s known history or irresponsible behavior with the vehicle.

On August 18, 2015, and at all times relevant and material hereto
Defendant, Con-Way Truckload, lnc., owed to Plaintiff, Lance Kerstetter,
a duty not to provide access to its vehicle to a driver who could
foreseeably become incompetent to drive.

On August 18, 2015 and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter, a duty to maintain his lane
of traffic

On August 18, 2015 and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter, a duty to drive a safe and
appropriate rate of speed.

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Defendants through their actions and/or inactions breached its duties to
Plaintiff.

The August 18, 2015 collision referred to above was directly and
proximately caused by the negligence, and carelessness of Defendant.

On August 18, 2015 and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter, a duty to operate
Defendant’s vehicle in accordance with the rules of the road, and the laws
of the Commonwealth of Pennsylvania, including but not limited to, the
Pennsylvania Motor Vehicle Code, 75 Pa. C.S.A. §101 et seq., and Federal
Motor Vehicle Carrier Regulations.

On August 18, 2015, and at all times relevant and material hereto,
Defendant owed to Plaintiff a duty pursuant to 75 Pa. C.S.A. § 3309 which
provides that the driver of the vehicle shall be driven as nearly as practical
entirely within a single lane and shall not be moved from the lane until the
driver has first ascertained that the movement can be made with safety.

On August 18, 2015 and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter a duty pursuant to 75 Pa.
C.S.A. §3361 that no person shall drive a vehicle at a speed greater than is
reasonable and prudent under the conditions

On August 18, 2015 and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter a duty pursuant to 75 Pa.
C.S.A. §3714 not to drive with careless disregard for the safety of persons
or property.

On August 18, 2015 and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter a duty pursuant to 75 Pa.
C.S.A. §3 736 not to drive any vehicle in willful or wanton disregard for
the safety of persons or property.

Gn August 18, 2015 and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter a duty pursuant to 75 Pa.
C.S.A. §3305 not to drive any vehicle in willful or wanton disregard for
the safety of persons or property.

The aforesaid accident was due solely to the negligent conduct, reckless,
careless conduct of Defendants and/or in no way due to any negligent act
or failure to act on the part of the Plaintiff.

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The negligent conduct, reckless and/or careless conduct of Defendants,
Larry Jurcak, consisted of the following:

a. Being inattentive and failing to maintain a sharp lookout of the
road and the surrounding conditions;

b. Failing to observe that care and caution were required under the
circumstances;

c. Placing Plaintiff, Lance Kerstetter, at risk of harm through
Defendant’s actions or inactions;

d. Failing to be continuously alert;

e. Failing to keep the roadway open;

f. Operating Defendant’s vehicle in disregard for the rules of the
road, the ordinances County of Carbon and the laws of the Commonwealth
of Pennsylvania Motor Vehicle Code, 75 Pa. C.S.A. §101 ct seq., which
conduct constitutes negligence per se;

g. Failing to abide by the requirements of 75 Pa. C.S.A. §3361;

h. F ailing to abide by the requirements of 75 Pa. C.S.A. §3714;

i. Failing to abide by the requirements of 75 Pa. C.S.A. §3736;

j. Failing to abide by the requirements of 75 Pa. C.S.A. §3305;

k. Failure to properly observe the roadway;

l. F ailure to maintain adequate control over the vehicle;

m. F ailure to abide by any duty owed to Plaintiff, Lance
Kerstetter, as set forth in paragraphs 21-40 as well as the whole

Complaint.

n. F ailing to exercise the high degree of care required of a motorist
operating a vehicle;

o. Failing to take proper precautions in the operation of the vehicle
so as to avoid the crash complained of herein;

p. Violation the applicable rules, regulations, and laws, pertaining
to the safe and proper operation of motor vehicles; and

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q. Carelessly driving the vehicle.

As a result of the above-stated acts and omissions, Plaintiff, Lance
Kerstetter, has suffered such harm as has been previously stated herein,
including but not limited to serious bodily injury.

As a result of the aforesaid accident and injuries sustained, Plaintiff was
rendered temporarily totally disabled and is permanently partially
disabled

As a result of the aforesaid accident and injuries sustained, Plaintiff has
suffered, yet suffers and will/may continue to suffer a loss of earnings and
impairment of their earning capacity and power all of which do or may
exceed the sum recoverable pursuant to the Pennsylvania Motor Vehicle
Financial Responsibility Law, 75 Pa CSA §1701 et seq.

As a result of the aforesaid accident and injuries sustained, Plaintiff has
been, yet is and will/may for an indefinite time in the future be unable to
go about their usual and daily occupations and routines.

As a result of the aforesaid accident and injuries sustained, Plaintiff has
been, yet is and will/may for an indefinite time in the future be forced to
forego the pleasures of life.

As a result of the aforesaid accident and injuries sustained, Plaintiff has
suffered, yet suffers and will/may for an indefinite time in the future
physical pain, mental anguish and humiliation.

As a result of the aforesaid accident and injuries sustained, Plaintiff has
been forced to undergo hospitalization and medical treatment and
will/may be forced to undergo hospitalization and medical treatment at an
undetermined time in the future.

As a result of the aforesaid accident and injuries sustained, Plaintiff has
expended, yet expends and will/may for an indefinite time in the future
expend various and substantial sums of money for the medicine and
medical attention in and above endeavoring to treat and cure themselves of
their injuries all to their great financial loss and damage.

WHEREF()RE, Plaintiff, Lance Kerstetter, respectfully requests that judgment
be entered in his favor and against Defendant, Larry Jurcak and Con-Way Truckload,
lnc., for compensatory damages in an amount of excess of $75,000.00, exclusive of
interest and costs.

COUNT II
NEGLIGENCE

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Lance Kerstetter v. Larry Jurcak and Con-Wav Truckload, Inc.

Plaintiff incorporates herein by reference the averments contained in
Paragraphs one (l) through forty-four (44) as well as the entire Complaint
as though the same were set forth fully herein.

As a direct and proximate result of the negligence, carelessness and
recklessness of Defendant, Plaintiff, Lance Kerstetter, has suffered
physical pain, discomfort, mental anguish, and he will continue to endure
the same for an indefinite period of time in the future, to his physical,
emotional, and financial detriment and loss.

As a direct and proximate result of the negligence, carelessness and
recklessness of Defendant, Plaintiff, Lance Kerstetter, has suffered
significant, substantial and/or severe scarring, and/or loss of life’s
pleasures, and will continue to suffer the same in the future, to his
detriment and loss.

As a direct and proximate result of the negligence, carelessness and
recklessness of Defendant, Plaintiff, Lance Kerstetter, has been, and will
in the future be, hindered from attending to his daily duties and chores, to
his detriment and loss.

On August 18, 2015, and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter, a duty to use due care under
the circumstances

On August 18, 2015, and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter, a duty not to place Plaintiff
at risk of harm through his actions or inactions.

On August 18, 2015 , and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter, a duty to operate the
vehicle in accordance with the rules of the road; the ordinances of
Susquehanna County, the laws of the Commonwealth of Pennsylvania
including the Pennsylvania Motor Vehicle Code, 75 Pa. C.S.A. § 101 et.
seq., and Federal Statutes, Regulations including but not limited to, The
Federal Motor Carrier Safety Administrations Rules and Regulations.

On August 18, 2015, and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter, a duty to have its vehicles
inspected and/or repaired so as defects of the vehicle and/or vehicle
components would be reasonably discovered and fixed

On August 18, 2015, and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter, a duty to notice if a
component of the vehicle was not functioning properly and to safely pull

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off the roadway so as to not cause an unreasonable dangerous condition to
other drivers on the roadway.

On August 18, 2015 and at all times relevant and material hereto,
Defendant owed to Plaintiff, Lance Kerstetter, a duty pursuant to 75 Pa.
C.S.A. §3306.

On August 18, 2015, and at all times relevant and material hereto,
Defendant owed to Plaintiff a duty to have adequately trained mechanic
inspect/repair/work on the vehicle in a reasonable and workmanlike
manner.

On August 18, 2015, and at all times relevant and material hereto,
Defendant owed to Plaintiff a duty pursuant to 75 Pa. C.S.A. § 3309 which
provides that the driver of the vehicle shall be driven as nearly as practical
entirely within a single lane and shall not be moved from the lane until the
driver has first ascertained that the movement can be made with safety.

On August 18, 2015, and at all times relevant and material hereto,
Defendant owed to Plaintiff a duty pursuant to 75 Pa. C.S.A. § 3714 which
provides that a person shall not drive a vehicle in careless disregard for the
safety of persona or property.

On August 18, 2015, and at all times relevant and material hereto,
Defendant owed to Plaintiff a duty pursuant to 75 Pa. C.S.A. § 3736 which
provides that a person shall not drive any vehicle in willful or wanton
disregard for the safety of person or property.

The aforesaid accident was due solely to the negligent conduct, reckless,
careless conduct of Defendants, individually, vicariously, jointly and
severally, Plaintiff, and/or in no way due to any negligent act or failure to
act on the part of the Plaintiff.

Defendant, through his actions and/or inactions breached his duty to
Plaintiff, Lance Kerstetter.

At the time of the collision, Defendant, by reason of inexperience, lack of
skill and/or judgment, were not qualified to operate the vehicle in a safe
and prudent manner.

The occurrence of the aforementioned collision and all the resultant
damages to Plaintiff are the direct and proximate result of the negligence,
outrageousness, carelessness and/or recklessness of Defendants, generally,
and more specifically, as set forth below:

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F ailing to inspect the tractor/trailer in a reasonable and prudent
fashion.

Failing to document the inspections of the tractor/trailer.

Being inattentive and failing to maintain a sharp lookout of the
instruments and/or components in the tractor/trailer and the road
and the surrounding traffic conditions;

Failing to keep alert and maintain proper watch of the roadway;

Failing to notice the Plaintiff;

Failing to operate the vehicle in accordance with the existing
traffic conditions;

Failing to observe that care and caution were required under the
circumstances;

Failing to exercise the high degree of care required of a motorist
operating a vehicle;

Driving the vehicle in a manner endangering persons and property
and in a reckless manner with careless disregard to the rights and
safety of others in violation of the Pennsylvania Motor Vehicle
Code;

Failure to have its vehicles and/or components therein repaired
and/or inspected as to defects that would be reasonably discovered
and fixed;

F ailure to have appropriately inspected its vehicles and especially
the vehicle involved to be sure that it was in a safe condition to
drive;

F ailure to have adequately trained mechanic inspect/repair/work on
the vehicle in a reasonable and workman like fashion;

Failure to have discovered mechanical or electrical issues with the
tractor/trailer when the Defendant knew or should have known

these issues could arise;

Failing to take proper precautions in the operation of the vehicle so
as to avoid the crash complained of herein;

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Placing Plaintiff at risk of harm through Defendant’s actions
and/or inactions;

F ailing to operate the vehicle in accordance with the rules of the
road, the Ordinances of Carbon County, the laws of the
Commonwealth of Pennsylvania, including but not limited to, the
Pennsylvania Motor Vehicle Code, 75 Pa.C.S.A. § 101 et. seq., and
all and any Federal Statutes and Regulations including but not
limited to, The Federal Motor Carrier Safety Administrations
Rules and Regulations as well as allowing the vehicle to be
operated while not in accordance with these rules;

Failing to abide by the requirements of 75 Pa. C.S.A. § 3309 by
moving into a lane without first ascertaining that the movement
could be made with safety;

F ailing to abide by the requirements of 75 Pa. C.S.A. § 3714 by
driving his vehicle in careless disregard for the safety of persona or
property and/or careless driving;

Failing to abide by the requirements of 75 Pa. C.S.A, § 3736 by
driving their vehicle in willful or wanton disregard for the safety of
persons or property and/ or reckless driving;

Failing to maintain proper and adequate observation of the existing
traffic conditions as required by 75 Pa. C.S.A. § 3309;

Failure to abide by 75 Pa. C.S.A. §3306(a)(2);

F ailure to abide by any duty owed to Plaintiff, as set forth in
paragraphs forty-nine (49) through fifty-nine (59) as well as the
whole complaint;

Failure to follow Co-Defendants’ policies and procedures;
F ailure to operate the vehicle in the proper lane of travel;

F ailure to notice if a component of the truck was not functioning
properly;

Failure of the Defendant to keep and not “destroy” the “black box”
and or “data from the black box” and or logs of the driver and or
other information concerning this incident such as, but not limited
to pictures.

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As a result of the above-stated facts and omissions, Plaintiff, Lance
Kerstetter, has suffered such harm as has been previously stated herein,
including but not limited to serious bodily inj ury.

As a result of the aforesaid accident and injuries sustained, Plaintiff, Lance
Kerstetter, has suffered, yet suffers and will/may continue to suffer a loss
of earnings and impairment of their earning capacity and power, all of
which do or may exceed the sum recoverable pursuant to the Pennsylvania
Motor Vehicle Financial Responsibility Law, 75 Pa.C.S.A. § 1701 et. seq.

As a result of the aforesaid accident and injuries sustained, Plaintiff, Lance
Kerstetter, has incurred, yet incurs and will/may incur various costs and
expenses, all of which do or may exceed the sums recoverable pursuant to
Pennsylvania l\/lotor Vehicle Financial Responsibility Law, 75 Pa.C.S.A. §
1701 et. seq.

As a result of the aforesaid accident and injuries sustained, Plaintiff, Lance
Kerstetter, has been, yet is and will/may for an indefinite time in the future
be unable to go about her usual and daily occupations and routines.

As a result of the aforesaid accident and injuries sustained, Plaintiff, Lance
Kerstetter, has been, yet is and will/may for an indefinite time in the future
be forced to forego the pleasures of life.

As a result of the aforesaid accident and injuries sustained, Plaintiff, Lance
Kerstetter, has suffered, yet suffer and will/may for an indefinite time in
the future suffer physical pain, mental anguish, scarring and humiliation.

As a result of the aforesaid accident and injuries sustained, Plaintiff, Lance
Kerstetter, has been forced to undergo hospitalization and/or medical
treatment and will/may be forced to undergo hospitalization and/or
medical treatment at an undetermined time in the future.

As a result of the aforesaid accident and injuries sustained, Plaintiff, Lance
Kerstetter, has been forced to expend, yet expend and will/may for an
indefinite time iri the future expend various and substantial sums of money
for the medicine and medical attention in and above endeavoring to treat
and cure himself of his injuries all to his great financial loss and damage

WHEREFORE, Plaintiff, Lance Kerstetter, prays this Honorable Court grant
judgment in his favor and against the Defendant, in a sum in excess of Seventy Five
Thousand ($75,000.00) Dollars to each of them together with compensatory damages,
punitive damages, interest, cost of suit and such other relief as this Honorable Court
deems just and proper.

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Respectfully submitted,
PISANCHYN~LAWEIR\L/I\

   
  

 

/ l\/lichael J. Pisanchyn Jr.,
-/ l.D. 87542

 

 

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Scran`teri~,-PM“SSU
(570) 344-1234

Attorneys for Plaintiffs

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